Case 2:23-cv-13164-SJM-PTM ECF No. 1, PagelD.1 Filed 12/12/23 Page 1of17 °

MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint) } |
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

Case: 2:23-cv-13164
Assigned To : Murphy, Stephen J., III

} ou. 1 We 5 : Referral Judge: Morris, Patricia T.
Ronn WZ Ene ] VW, ean al. Assign. Date : 12/12/2023
Description: PR MCDONALD V.
DETROIT POLICE DEPARTMENT ET AL (NA)

(Write the full name of each plaintiff who is filing this
complaint. If the names of all the plaintiffs cannot fit in
the space above, please write “see attached” in the space
and attach an additional page with the full list of names.) Jury Trial: BY es No

(check one)

(to be filled in by the Clerk's Office)

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(Write the full name of each defendant who is being sued. If
the names of all the defendants cannot fit in the space above,
please write “see attached” in the space and attach an
additional page with the full list of names. Do not include
addresses here.)

Complaint for Violation of Civil Rights
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access
to electronic court files. Under this rule, papers filed with the court should nor contain: an individual’s full
social security number or full birth date; the full name of a person known to be a minor; or a complete financial
account number. A filing may include only: the last four digits of a social security number; the year of an
individual’s birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements,
or any other materials to the Clerk’s Office with this complaint.

ey In order for your complaint to be filed, it must be accompanied by the filing fee or an application to
proceed in forma pauperis. oO
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MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

I.

The Parties to This Complaint

A. The Plaintiffs)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

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All other names by which you have been known:

ID Number

Current Institution

Address Ab Hl ( Rates nN
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B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation.
Make sure that the defendant(s) listed below are identical to those contained in the
above caption. For an individual defendant, include the person’s job or title (if known)
and check whether you are bringing this complaint against them in their individual
capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

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Job or Title fii Rozewes
(if known)

Shield Number Atte hao,
Employer

Address 2) SS i Me.b ie hbels.

Cl Individual capacity Official capacity

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MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

II. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights,
privileges, or immunities secured by the Constitution and [federal laws].” Under Bivens v. Six
Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
federal officials for the violation of certain constitutional rights.

A. Are you bringing suit against (check all that apply):

O Federal officials (a Bivens claim)
oO State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” 42 U.S.C. § 1983. If you
are suing under section 1983, what federal constitutional or statutory right(s) do you
claim is/are being violated by state or local officials?

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C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional
rights. If you are suing under Bivens, what constitutional right(s) do you claim is/are
being violated by federal officials?
Case 2:23-cv-13164-SJM-PTM ECF No. 1, PagelD.4 Filed 12/12/23 Page 4 of 17 °

MIED ProSe 14 (Rev 5/16) Complaint for Violation of Civil Rights (Prisoner Complaint)

D.

Section 1983 allows defendants to be found liable only when they have acted “under
color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or
the District of Columbia.” 42 U.S.C. § 1983. If you are suing under section 1983,
explain how each defendant acted under color of state or local law. If you are suing
under Bivens, explain how each defendant acted under color of federal law. Attach
additional pages if needed.

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Indicate whether you are a prisoner or other confined person as follows (check all that apply):

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IV.

Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner

Other (explain)

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally
involved in the alleged wrongful action, along with the dates and locations of all relevant

events. You may wish to include further details such as the names of other persons involved in
the events giving rise to your claims. Do not cite any cases or statutes. If more than one claim
is asserted, number each claim and write a short and plain statement of each claim in a separate

paragraph. Attach additional pages if needed.

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D. What are the facts underlying your claim(s)? (For example: What happened to you?
Who did what? Was anyone else involved? Who else saw what happened?)

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V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state
what medical treatment, if any, you required and did or did not receive.

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VI. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any
cases or statutes. If requesting money damages, include the amounts of any actual damages
and/or punitive damages claimed for the acts alleged. Explain the basis for these claims.

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